 1   John Craiger (Bar No. 021731)
     POLSINELLI PC
 2   One East Washington St., Suite 1200
     Phoenix, Arizona 85004
 3   Telephone: (602) 650-2000
     Facsimile: (602) 264-7033
 4   E-Mail: jcraiger@polsinelli.com]
 5   Matthew S. Layfield (Pro Hac Vice)
     Michael A. Campbell (Pro Hac Vice)
 6   Nick A. Griebel (Pro Hac Vice)
     POLSINELLI PC
 7   100 S. Fourth Street, Suite 1000
     St. Louis, Missouri 63102
 8   Telephone: (314) 889-8000
     Facsimile: (314) 231-1776
 9   Email: mlayfield@polsinelli.com
            mcampbell@polsinelli.com
10
     Attorneys for the Defendants Valliance Bank, Shelby Bruhn,
11   and Katherine S. Bruhn
12                     IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF ARIZONA
13
14   In re:                                              Chapter 7 Proceedings

15   SKYLER AARON COOK,                                  Case No. 2:20-bk-01730-EFB

16                               Debtor.
17   JAMES E. CROSS, TRUSTEE,
18                                                       Adversary No. 2:21-ap-00336-EFB
                                 Plaintiff,
19
     vs.                                                 NOTICE OF SERVICE OF
20
                                                         DOCUMENTS PRODUCED BY
21   VALLIANCE BANK, SHELBY BRUHN, and                   AT&T MOBILITY
     KATHERINE S. BRUHN,
22
23                               Defendants.
24
              Defendants Valliance Bank, Shelby Bruhn, and Katherine S. Bruhn, by and through
25
     their undersigned counsel, hereby certify that documents produced by AT&T Mobility were
26
27   served upon the following counsel via electronic mail on the 10th day of October, 2023:
28
Case 2:21-ap-00336-EPB                         1
                             Doc 207 Filed 10/16/23  Entered 10/16/23 13:28:33       Desc
     91713875.1
                              Main Document    Page 1 of 3
              Jeffrey Goulder
 1
              Michael Vincent
 2            Clarissa C. Brady
              STINSON LLP
 3            1850 N. Central Avenue, Suite 2100
 4            Phoenix, Arizona 85004-4584
              jeffrey.goulder@stinson.com
 5            clarissa.brady@stinson.com
              michael.vincent@stinson.com
 6
              Attorneys for Plaintiff James E. Cross, Trustee
 7
              David Frazee
 8            Alicia Raines Barrs
 9            Josh Brandau
              BARNES & THORNBURG LLP
10            2121 N. Pearl Street, Suite 700
              Dallas, Texas 75021
11
              David.Frazee@btlaw.com
12            Alicia.RainesBarrs@btlaw.com
              Josh.Brandau@btlaw.com
13            Attorney for Skyler Aaron Cook
14
              Rebecca Eaton
15            KEARNEY, MCWILLIAMS & DAVIS, PLLC
              1235 South Main, Suite 280
16
              Grapevine, Texas 76051
17            reaton@kmd.law
              Attorney for Skyler Aaron Cook
18
19            RESPECTFULLY SUBMITTED this 16th day of October, 2023.
20                                          POLSINELLI PC
21
                                            By: /s/ Michael A. Campbell
22                                             John Craiger
                                               Matthew S. Layfield
23
                                               Michael A. Campbell
24
                                                Attorneys for Defendants Valliance
25                                              Bank, Shelby Bruhn, and Katherine S.
26                                              Bruhn

27
28
Case 2:21-ap-00336-EPB                          2
                              Doc 207 Filed 10/16/23  Entered 10/16/23 13:28:33        Desc
     91713875.1
                               Main Document    Page 2 of 3
           I hereby certify that on October 16, 2023, I electronically transmitted the foregoing
 1
     document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
 2   Notice of Electronic Filing to all CM/ECF registrants, which constitutes service, pursuant to
     L.R. Bankr. P. 9076-1:
 3
 4
     /s/ Rebecca O’Brien
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
Case 2:21-ap-00336-EPB                        3
                            Doc 207 Filed 10/16/23  Entered 10/16/23 13:28:33         Desc
     91713875.1
                             Main Document    Page 3 of 3
